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                             UNITED STATES DISTRICT COURT
                             SOUTHERN DISTRICT OF GEORGIA
                                 BRUNSWICK DIVISION


UNITED STATES OF AMERICA            :
                                    :
                                    :
                                    :
v.                                  :                 Case No.: 2:18-CR-14-LGW-BWC
                                    :
                                    :
                                    :
ANDREW JACKSON                      :
____________________________________:

                   DEFENDANT ANDREW JACKSON’S EXHIBIT LIST

       COMES NOW, the Defendant, ANDREW JACKSON, by and through his undersigned

counsel, pursuant to local rules and the rules of this Honorable Court, hereby files his exhibit list

and in support states as follows:

   1. Plea Agreement of Jessica Tabuteau

   2. Plea Agreement of Keneil King

   3. Plea Agreement of Darrius Merrell

   4. Plea Agreement of John Eugene Overcash
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                                            CONCLUSION

        WHEREFORE, the Defendant, ANDREW JACKSON, by and through his undersigned

counsel respectfully files this his exhibit list.


                                                         Respectfully submitted,

                                                         By: /s/ Mark J. O'Brien
                                                         Mark J. O'Brien, Esquire
                                                         Florida Bar No.: 0160210
                                                         511 West Bay Street
                                                         Tampa, Florida 33606
                                                         Direct:        (813) 228-6989
                                                         Email: mjo@markjobrien.com
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                              CERTIFICATE OF SERVICE

       I HEREBY CERTIFY on January 24, 2019 I electronically filed the foregoing with the

Clerk of the Court by using the CM/ECF system which will then send notice of electronic filing

to all counsel of record.

                                                         By: /s/ Mark J. O'Brien
                                                         Mark J. O'Brien, Esquire
